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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  THE STATE OF TEXAS, et al,                 §
                                             §
                                             §
            Plaintiffs,                      §
                                             §
  v.                                         §         Civil Action No. 4:20-cv-00957-SDJ
                                             §
  GOOGLE LLC,                                §
                                             §
                                             §
            Defendant.                       §



                            [PROPOSED] ORDER ON PARTIES’
                     JOINT MOTION TO MODIFY SCHEDULING ORDER


          Under Federal Rule of Civil Procedure 16(b), a scheduling order may be modified “only

 for good cause.” Having considered the Parties’ Joint Motion Pursuant to Rule 16(b) to Modify

 Scheduling Order to Provide Brief Extensions of Expert Discovery Period and Summary

 Judgment/Daubert Deadlines, the Court finds that good cause exists to modify the scheduling order

 in this case. The Motion is GRANTED.

 It is therefore ORDERED that:

       1. The Scheduling Order in this case shall be modified as follows:


           Event           Current Deadline         New Deadline




 Disclosure of            8/27/2024 or 9/3/2024        9/9/2024
 rebuttal expert
 testimony
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 Close of Expert         10/5/2024 or           11/1/2024
 Discovery                10/12/2024


 Summary Judgment          11/9/2024           11/18/2024
 and Daubert Motions
 due


 Oppositions to           11/30/2024            12/9/2024
 Summary Judgment
 and Daubert
 Motions


 Replies to Summary       12/14/2024           12/23/2024
 Judgment and
 Daubert Motions




       Signed this ______, day of ________________, 2024.



                                         ________________________________
                                               Judge Sean D. Jordan
